 Case 4:22-cv-00682-SDJ Document 1 Filed 08/05/22 Page 1 of 15 PageID #: 1




                IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF TEXAS
                         SHERMAN DIVISION


TRENISS JEWELL EVANS III                 )
DOMINIC PEZZOLA,                         )
EDWARD JACOB LANG                        )
           Plaintiffs       )
                            )
Vs.                         )                Case No.
                            )
THE SELECT JANUARY SIX      )
COMMITTEE,                  )
BENNIE THOMPSON, ADAM       )
SCHIFT, ZOE LOFGREN, ELAINE )
LURIA, PETE AGUILAR,        )
STEPHANIE MURPHY, JAMIE     )
RASKINS, ELIZABETH CHANEY, )
ADAM KINZINGER              )
          Defendant(s)      )


    "Whenever the people are well informed, they can be trusted with their
    own government; that whenever things get so far wrong as to attract
    their notice, they may be relied on to set them to rights." Thomas
    Jefferson to Richard Price, January 8, 1789

    “A truth will always remain a truth even if there is only one person
    claiming for it, and no one is up to believe it. In today’s world, it has
    been really easy to manipulate statements, but it is essential to
    understand that even if no one believes a truth, it will still remain a
    truth.”W.E.B.Dubois At time © Source:

     https://www.quotespedia.org/authors/u/unknown/the-truth-is-still-the-truth-even-
    if-no-one-believes-it-a-lie-is-still-a-lie-even-if-everyone-believes-it-unknown/




                                             1
    Case 4:22-cv-00682-SDJ Document 1 Filed 08/05/22 Page 2 of 15 PageID #: 2




                  CIVIL COMPLAINT 42 U.S.C § 1983

         This action commences for injunctive relief against a legislative branch of

government1 pursuant to the provisions of Title 42 U.S.C. §§§ 19832, 1985(2)(3)3,

whereas the United States District Court for The Eastern District of Texas has

subject matter jurisdiction over all matters of law and equity pertaining to this

cause.




1See - Board of Trustees of Univ. of Alabama v Garrett, 531 U.S. 356 (2001) where the Supreme
Court articulates the distinction between the Legislative Branch and Judicial Branch of
government. …“very much a task for legislators guided by qualified professionals and not by
the perhaps ill-informed opinions of the judiciary.”
2Every person who, under color of any statute, ordinance, regulation, custom, or usage, of any
State or Territory or the District of Columbia, subjects, or causes to be subjected, any citizen of
the United States or other person within the jurisdiction thereof to the deprivation of any rights,
privileges, or immunities secured by the Constitution and laws, shall be liable to the party injured
in an action at law, suit in equity, or other proper proceeding for redress, except that in any action
brought against a judicial officer for an act or omission taken in such officer’s judicial capacity,
injunctive relief shall not be granted unless a declaratory decree was violated or declaratory relief
was unavailable. For the purposes of this section, any Act of Congress applicable exclusively to
the District of Columbia shall be considered to be a statute of the District of Columbia.
3
 42 U.S.C § 1985 (2)…or to influence the verdict, presentment, or indictment of any grand or
petit juror in any such court, or to injure such juror in his person or property on account of any
verdict, presentment, or indictment lawfully assented to by him, or of his being or having been
such juror

(3) or if two or more persons conspire to prevent by force, intimidation, or threat, any citizen
who is lawfully entitled to vote, from giving his support or advocacy in a legal manner, toward
or in favor of the election of any lawfully qualified person as an elector for President or Vice
President, or as a Member of Congress of the United States; or to injure any citizen in person or
property on account of such support or advocacy
                                                  2
    Case 4:22-cv-00682-SDJ Document 1 Filed 08/05/22 Page 3 of 15 PageID #: 3




                 PERSONAL JURISDICTION OVER THE PARTIES

       Jurisdiction over the persons of the parties is invoked onto this Court under

Article III, Section 2, Clause 14 to the United States Constitution, in that, diversity

jurisdiction onto the federal courts in this matter is inapplicable pursuant to the

statutory terms of 28 U.S.C. § 1332(a)(b)and(c) whereas no monetary amounts are

being sought in the matter. Accordingly, this cause of action is predicated under the

provisions of law pursuant to Article III, Section 2, Clause 1.



                                 VENUE OF THE COURT

       Proper venue of the Court rest upon 28 USC § 1391(e)(1)(c). In that, the

gravamen of this cause is predicated upon officers, employees or agencies of the

United States while acting in their official capacity, has exceeded the legal authority

sanctioned by the Constitution of the United States.




4 The judicial Power shall extend to all Cases, in Law and Equity, arising under this Constitution,
the Laws of the United States, and Treaties made, or which shall be made, under their Authority;—
to all Cases affecting Ambassadors, other public Ministers and Consuls;—to all Cases of admiralty
and maritime Jurisdiction; to Controversies to which the United States shall be a Party;—to
Controversies between two or more States; between a State and Citizens of another State, between
Citizens of different States,—between Citizens of the same State claiming Lands under Grants of
different States, and between a State, or the Citizens thereof, and foreign States, Citizens or
Subjects.
                                                3
     Case 4:22-cv-00682-SDJ Document 1 Filed 08/05/22 Page 4 of 15 PageID #: 4




                               ABOUT THE PARTIES

I.      TRENNIS JEWELL EVANS III, known from hereinafter as “Evans”, who is

a private citizen and is the primary plaintiff to this cause, resides in the state of Texas

with an address at 1240 W. Trinity Mills Rd Carrollton, Texas 75006.

II.     DOMINIC PEZZOLA, known from hereinafter as “Pezzola”, who is a private

citizen and is a plaintiff to this cause, resides in the state of New York.

III.    EDWARD JACOB LANG, known from hereinafter as “Lang”, who is a

private citizen and is a plaintiff to this cause, resides in the state of New York.

IV.     DONALD J. TRUMP, known from hereinafter as “Trump”, who is a private

citizen but is not a plaintiff to this cause, resides in the state of Florida. Trump has a

place of residence at 1100 S. Ocean Blvd, Palm Beach, FL 33480.

V.      THE SELECT COMMITTEE ON JANUARY SIX, known from hereinafter

as “the Committee” is is a defendant to this cause and a corporate entity of the United

States with its corporate base of operations having been located at First St SE,

Washington, DC 20004, for the purpose of proper service.

VI.     BENNIE THOMPSON, known from hereinafter as “Thompson” is a

defendant to this cause and resident of the state of Mississippi. Thompson is

Chairperson for the Select Committee on January Six. Thompson also serves as an

agent or officer of the Corporation United States with a base of operation at First St

SE, Washington, DC 20004, for the purpose of proper service.


                                            4
  Case 4:22-cv-00682-SDJ Document 1 Filed 08/05/22 Page 5 of 15 PageID #: 5




VII. ADAM SCHIFF, known from hereinafter as “Schiff” is a defendant to this

cause and a resident of the state of California. Schiff is a member and active

participant to the Select Committee on January Six. Schiff serves as an agent or

officer of the Corporation United States with a base of operation at First St SE,

Washington, DC 20004, for the purpose of proper service.

VIII. ZOE LOFGREN, known from hereinafter as “Lofgren” is a defendant to this

cause and is a resident of the state of California. Lofgren is a member and active

participant to the Select Committee on January Six. Lofgren serves as an agent or

officer of the Corporation United States with a base of operation at First St SE,

Washington, DC 20004, for the purpose of proper service..

IX.   ELAINE LURIE, known from hereinafter as “Lurie” is a defendant to this

cause and is a resident of the Commonwealth of Virginia. Lurie is a member and

active participant to the Select Committee on January Six. Lurie serves as an agent

or officer of the Corporation United States with a base of operation at First St SE,

Washington, DC 20004, for the purpose of proper service.

X.    PETER “PETE” AGUILAR, known from hereinafter as “Aguilar” is a

defendant to this cause and is a resident of the state of California. Aguilar is a

member and active participant to the Select Committee on January Six. Aguilar

serves as an agent or officer of the Corporation United States with a base of operation

at First St SE, Washington, DC 20004, for the purpose of proper service.


                                           5
  Case 4:22-cv-00682-SDJ Document 1 Filed 08/05/22 Page 6 of 15 PageID #: 6




XI.   STEPHANIE MURPHY, known from hereinafter as “Murphy” is a defendant

to this cause and is a resident of the state of Florida but is a member and active

participant to the Select Committee on January Six. Murphy serves as an agent or

officer of the Corporation United States with a base of operation at First St SE,

Washington, DC 20004, for the purpose of proper service.

XII. JAMIE RASKIN, known from hereinafter as “Raskin” is a defendant to this

cause and is a resident of the state of Maryland. Raskin is a member and active

participant to the Select Committee on January Six. Raskin serves as an agent or

officer of the Corporation United States with a base of operation at First St SE,

Washington, DC 20004, for the purpose of proper service.

XIII. ELIZABETH “LIZ” CHENEY, known from hereinafter as “Cheney” is a

defendant to this cause and is a resident of the state of Wyoming. Cheney is a

member and active participant to the Select Committee on January Six. Cheney

serves as an agent or officer of the Corporation United States with a base of operation

at First St SE, Washington, DC 20004, for the purpose of proper service.

XIV. ADAM KINZINGER, known from hereinafter as “Kinzinger” is a defendant

to this cause and is a resident of the state of Illinois. Kinzinger is a member and

active participant to the Select Committee on January Six. Kinzinger serves as an

agent or officer of the Corporation United States with a base of operation at First St

SE, Washington, DC 20004, for the purpose of proper service.


                                           6
     Case 4:22-cv-00682-SDJ Document 1 Filed 08/05/22 Page 7 of 15 PageID #: 7




                                 BACKGROUND

1.      DONALD J. TRUMP, known from hereinafter as “Trump” is a political

republican and is the (former) 45th President of the United States of America.

2.      On November 3, 2020 and during the course of the federal general election

for what would have been Trump’s second term to the Office of the President, a

series of what arguably may be described as a massive coup was executed against

Trump, which included various instances of ballot harvesting and voter fraud

throughout the sovereign states of the Union.

3.      Many citizens of the Union believe that the successful execution of the

aforesaid alleged coup afforded the Office of the President to democratic challenger

JOSEPH R. BIDEN known from hereinafter as “Biden”.

4.      On or about December 16, 2020, Trump invited his political grass root

supporters from the Union to Washington, District of Columbia, in a constitutional

assemblage for Americans who were aggrieved by the flagrancy in which the alleged

presidential coup was allowed to transpire by members from both, the Legislative

and Judicial Branches of federal government.

5.      The invitees in attendance numbered more than two million American citizens

from every state of the Union, territory and possession.




                                         7
     Case 4:22-cv-00682-SDJ Document 1 Filed 08/05/22 Page 8 of 15 PageID #: 8




6.      At approximately noon on the date of January 6, 2021, Trump delivered a

public address to the American citizens who had gathered collectively on the

grounds of the Washington Ellipse.

7.      Shortly after Trump concluded his speech and returned to the interior of the

White House, violence erupted between Trump supporters and a variety of local and

federal uniformed police departments assigned to the Washington, DC area5.

8.      At approximately 4:10 pm EST, EVANS, was recorded on commercial video

while using a portable loudspeaker device by journalist SANDY BACHROM known

from hereinafter as “Bachrom”.

9.      EVANS was recorded while reciting words from Trump that were made

during one of the President’s earlier public addresses on that day, to wit:

               “Mike Pence did not have the courage to do what should have
               been done to protect our country and our Constitution, giving
               the states the chance to certify a corrected set of facts, not the
               fraudulent or incorrect ones which they were asked to
               previously certify. USA demands the truth!”

10.     EVANS was subsequently charged by way of Criminal Indictment by the

federal government in connection with the events that transpired at the U.S. Capitol

that day.




5
  To the date of this filing, identification of the true instigators to the civil unrest has yet to be
determined in spite of the arrest by the federal government of nearly one thousand American
citizens from all across the United States.

                                                  8
  Case 4:22-cv-00682-SDJ Document 1 Filed 08/05/22 Page 9 of 15 PageID #: 9




11.   On January 6, 2021, LANG and PEZZOLA, joined with the large mass of

fellow American citizens on the grounds of the Washington DC Ellipse, where they

also witnessed the public speech performed by President Donald J. Trump.

12.   Shortly following the President’s speech LANG and PEZZOLA accompanied

other citizens who, at the time, were peaceful protestors as they walked from the

speech grounds, and on to the grounds of the U.S. Capitol.

13.   During the course of historic events that followed, LANG and PEZZOLA

became intertwined in the mayhem of the day for the purpose of saving human lives

and or mere frustration associated with government sponsored aggression which had

been specifically directed at the Trump supporters.

14.   It is not in dispute that LANG was recorded by way of video, and is further

credited for saving the lives of two American citizens, Phillip Anderson, and Tommy

Tatum.

15.   LANG also attempted to save the life of Rosanne Boyland, the pregnant young

woman who ultimately died of injuries suffered during the unrest at the Capitol on

the relevant day.

16.   During the events of January 6, 2021, PEZZOLA was recorded by way of

video and captured in a moment of anger, frustration and rage where PEZZOLA is

depicted destroying a single window that was located on the east side of the U.S.

Capitol structure.


                                         9
 Case 4:22-cv-00682-SDJ Document 1 Filed 08/05/22 Page 10 of 15 PageID #: 10




17.   The video recorded actions of PEZZOLA, prompting the federal government

to subject him to prosecution by way of Criminal Indictment in the days to follow.

18.   In the course of LANG’S life saving attempts he experienced physical contact

with uniformed police officials, prompting the federal government to subject LANG

to prosecution by way of Criminal Indictment by the federal government in

connection with the events that transpired at the U.S. Capitol that day.

19.   On February 9, 2021, Articles of Impeachment were introduced by the

majority of Congressional House Democrats.

20.   For relevance to the instant matter, the Article of Impeachment charged that

Trump, “…[I]ncited by President Trump, members of the crowd he had addressed,

in an attempt to … interfere with the Joint Session’s solemn constitutional duty to

certify the results of the 2020 Presidential election, unlawfully breached and

vandalized the Capitol, injured and killed law enforcement personnel, menaced

Members of Congress, the Vice President and Congressional personnel, and engaged

in other violent, deadly, destructive, and seditious acts,"…

21.   On February 13, 2021, Trump was acquitted of all charged allegations within

the Articles of Impeachment.

22.   On July 1, 2021, the Democrat controlled, Congressional House of

Representatives formed a constitutionally deficient group, previously identified in

this pleading as “the Committee”, in effort to unlawfully employ the criminal justice


                                         10
 Case 4:22-cv-00682-SDJ Document 1 Filed 08/05/22 Page 11 of 15 PageID #: 11




system as a political means to achieve through the back door, what due process and

the Senate Impeachment Trial’s acquittal, denied to the Democratic Party by way of

the front door.

23.   On August 20, 2021 the Federal Bureau of Investigation (FBI) determined

that there was scant evidence of a planned insurrection on January 2, 2021.

24.   Trump has and continues to contemplate another national campaign for the

2024 nomination for President of the United States.

25.   On June 9, 2022, the Committee produced or caused to be produced and

released, a video production to CNN and other media outlets, claiming that the

production was a January Sixth Evidentiary Exhibit and averring that the production

was “Never – before seen video footage of the riot.”

26.   Taken from selected footage from various video sources the defendants

acquired segments of EVANS utilizing a load speaker on January 6, 2021, and

during the recitation of the relevant utterances from Trump as set out in ¶ 9 to the

herein Complaint.

27.   The Committee had willfully and with fraudulent intent to deceive, criminally

altered the time of Evans’ actual broadcasted event from the time of 4:10 PM EST

to 2:24 PM EST, and in a manner so as to deceive and to create the illusion that

Evans was using the words of Trump in real time to incite unlawful rioting and or

the murder of Mike Pence.


                                        11
 Case 4:22-cv-00682-SDJ Document 1 Filed 08/05/22 Page 12 of 15 PageID #: 12




28.   The Committee thereafter proceeded to utilize the image of EVANS,

PEZZOLA and LANG, in a way to further promote its politically based agenda to

substantiate criminal conduct so as to justify referral to the Department of Justice for

the criminal prosecution of TRUMP in relations to inciting the riot and events of

January 6, 2021.

29.   Moreover, the defendants positively identified an image within its

manufactured video and specifically for evidentiary value, as that of Pezzola, absent

the due process safeguards in which the Constitution guarantees for accuracy

challenges.

30.   Instead Pezzola has been personally identified, placed on trial by the

Legislative Branch, and convicted by the Committee as having been a “Proud Boy”

and an “insurrectionist” without the rightful benefit of adversarial proceeding before

the Judiciary.

31.   The respondents broadcasted or caused its evidentiary video to be broadcasted

by way of television and or video streaming devices to hundreds of millions of

Americans, and potential jurors with intent to obscure the facts on the merits and to

taint or otherwise influence the jury pool against the defendants and in favor of

criminal convictions in furtherance of a political agenda.

32.   The Respondent’s intended outcome however, is predicated in part upon

theoretical conduct in which the Supreme Court of the United States has determined


                                          12
    Case 4:22-cv-00682-SDJ Document 1 Filed 08/05/22 Page 13 of 15 PageID #: 13




to be non-criminal political speech under the First Amendment, which rest beyond

the reach of criminal statutes.

33.     Further, because an accused is not entitled to a hearing before a grand jury,

nor to present evidence, nor to be represented by counsel; the Democratic controlled

District of Columbia, and any federal grand or petite jury derived thereof, may act

fallible but secretly, and in a manner normally abhorrent to due process.



            CAUSE FOR INJUCTIVE RELEIF UNDER 28 U.S.C § 1983

XV. The injunctive relief power of the Court is proper under the instant § 1983

action, where defendants have far exceeded the constitutionally limited Legislative

authority of the United States Congress and have encroached upon or otherwise

usurped the Constitutional authority of the Federal Judiciary and have acted against

private U.S. citizens6. Moreover, the actions of the defendants have and will continue

to deprive the plaintiff’s of Constitutional Due Process Rights, to include the original

target who is the unnamed private person to its scheme. That would be Donald J.

Trump.


6 But the power to investigate, broad as it may be, is also subject to recognized limitations. It
cannot be used to inquire into private affairs unrelated to a valid legislative purpose. Nor does it
extend to an area in which Congress is forbidden to legislate. Similarly, the power to investigate
must not be confused with any of the powers of law enforcement; those powers are assigned under
our Constitution to the Executive and the Judiciary. Quinn v. United States, 349 U.S. 155, 161
(1955)



                                                13
 Case 4:22-cv-00682-SDJ Document 1 Filed 08/05/22 Page 14 of 15 PageID #: 14




                        CLAIM FOR INJUNCTIVE RELIEF

XVI. THE SELECT JANUARY SIX COMMITTEE, BENNIE THOMPSON,

ADAM SCHIFT, ZOE LOFGREN, ELAINE LURIA, PETE AGUILAR,

STEPHANIE MURPHY, JAMIE RASKINS, ELIZABETH CHANEY, ADAM

KINZINGER, are sued individually and collectively for injunctive relief, in that, the

defendants be permanently enjoined from investigating, subpoenaing, concluding,

recommending, taking testimony of or from, or making criminal referrals pertaining

to private citizens to include the herein named Plaintiffs, relating to the events of

January 6, 2021.

                   PRAYER AND DEMAND FOR JURY TRIAL

XVII. For all the reasons presented within this Civil Complaint, the Plaintiff

through their attorneys demands a trial by jury of all facts in controversy and for

Attorneys Fees. Further the Plaintiff prays that this Honorable Court grant Injunctive

Relief, and all other relief that this Court determines to be equitable and just.

                                 Respectfully Submitted,


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                                          14
Case 4:22-cv-00682-SDJ Document 1 Filed 08/05/22 Page 15 of 15 PageID #: 15




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                                    15
